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                            UNITED STATES DISTRICT CO
                                                                                   LI
                            SOUTHERN DISTRICT OF GEORGIA
                                                                                   4J7 •t;j
                                   STATESBORO DIVISION

UNITED STATES OF AMERICA                      )



                                              )


       V.                                     )



                                              )


INEZ MEYON ROUNTREE                           )
                                                      INDICTMENT NO. CR609-00041-001


                                             ORDER

       On November 1, 2011, the Court entered an Order denying Defendant's Motion for Sentence

Reduction Pursuant to 18 U.S.C. § 3582(c)(2).

       On July 13, 2012, Defendant filed a subsequent Motion for Sentence Reduction Pursuant to

18 U.S.C. § 35 82(c)(2). The Motion was postmarked July 10, 2012. Defendant requests a reduction

based upon the retroactive application of guideline amendments resulting from the Fair Sentencing

Act of2OlO. Since the motion is a pro se motion, the Court will liberally construe the motion to be

a Motion to Reconsider the Court's denial of her previous § 3582(c)(2) motion. This Court has

jurisdiction over a motion to reconsider its decision in a § 3582 proceeding only within the 14 days

following that decision allowed by Fed. R. Crim, P. 35(a) for correction of sentence. See United

States v. Phillips, 597 F.3d 1190, 1198 (11th Cir. 2010) (applying Rule 35(a) limitation to

reconsideration of grant of 3582 motion); United States v. Blaine, 409 Fed. Appx. 253, 261 & n.10

(11 " Cir. 2010) (denial of 3582 motion).

       Defendant's Motion to Reconsider was not timely submitted and is therefore DENIED.

       SO ORDERED, this                 day of February, 2013.




                                                      For the Southern District of Georgia
